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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

UNITED STATES OF AMERICA,
           Plaintiff,                   CIVIL ACTION
      v.                                NO. 1:11-CR-239-21-CAP-ECS
PEDRO PABLO GOMEZ-RIVERO,
           Defendant.

                               O R D E R

     This matter is currently before the court on the January 20,

2012, Final Report and Recommendation of the Magistrate Judge (“the

R&R”) [Doc. No. 519]. After carefully considering the R&R and the

objections thereto [Doc. No. 535], the court receives the R&R [Doc.

No. 519] with approval and ADOPTS it as the opinion and order of

this court.

     SO ORDERED, this 1st day of March, 2011.



                                  /s/ Charles A. Pannell, Jr.
                                  CHARLES A. PANNELL, JR.
                                  United States District Judge
